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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ARTURO DELEON-REYES                         )
                                            )
Plaintiff,                                  )      Case No. 18-CV-01028
                                            )
v.                                          )      Honorable Andrea R. Wood
                                            )
REYNALDO GUEVARA, ET. AL.                   )
                                            )
Defendants.                                 )

            JOINT MOTION FOR LEAVE TO SUBSTITUTE COUNSEL
        UNDER LOCAL RULE 83.17 FOR DEFENDANTS THOMAS O’MALLEY,
          HEATHER BRUALDI, ANDREW VARGA, AND KARIN DOOLEY

        Defendants Thomas O’Malley, Heather Brualdi, Andrew Varga, and Karin Dooley (FKA

Karin Wehrle), by undersigned counsel, respectfully moves under Local Rule 83.17 for leave to

withdraw attorneys David Alan Adelman, Edward M. Brener, and Shayl Wilson as their counsel,

and to substitute James Lydon, Michael Stephenson, and C. Esther Choi of Hinshaw & Culbertson

LLP as their new counsel.

     WHEREFORE, Defendants Thomas O’Malley, Heather Brualdi, Andrew Varga, and Karin

Dooley (FKA Karin Wehrle) respectfully request this Court enter an order as follows:

     1. Withdraw attorneys David Alan Adelman, Edward M. Brener, and Shayl Wilson as counsel
        of record for Defendants Thomas O’Malley, Heather Brualdi, Andrew Varga, and Karin
        Dooley (FKA Karin Wehrle); and

     2. Substitute James Lydon, Michael Stephenson, and C. Esther Choi as counsel for
        Defendants Thomas O’Malley, Heather Brualdi, Andrew Varga, and Karin Dooley (FKA
        Karin Wehrle) nunc pro tunc to August 19, 2021.




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Date: August 19, 2021                       Respectfully Submitted,


By: /s/ Edward M. Brener                    By: /s/ C. Esther Choi

Edward M. Brener                            James Lydon
Cook County State’s Attorney                Michael C. Stephenson
Civil Litigation Bureau                     C. Esther Choi
50 W. Washington St., 5th Floor             Hinshaw & Culbertson LLP
Chicago, IL 60602                           151 N. Franklin Street, Suite 2500
(312) 603-5971                              Chicago, Illinois 60606
Edward.Brener@cookcountyil.gov              312-704-3221
                                            jlydon@hinshawlaw.com
                                            mstephenson@hinshawlaw.com
                                            echoi@hinshawlaw.com




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